 

Case 1:18-cr-00602-JMF Document 34-1 Filed 02/15/19 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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UNITED STATES OF AMERICA, |
|
Plaintiff, |
| 18 Cr 602 (WHP)
-y- | 18 Cr 850 (WHP)
|
MICHAEL COHEN, |
|
Defendant. |
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Affidavit of Michael D. Monico
1. My name Michael D. Monico. My business address is 20 South Clark, Suite 700

Chicago, Illinois 60603. I am a member of good standing of the Illinois state bar.

My Illinois attorney registration number is 1943596. I am admitted to practice
in the State of Illinois.

2. Ihave never been convicted of a felony.

3. Ihave never been censured, suspended, disbarred or denied admission or
readmission by any court.

4, There are no disciplinary proceedings presently against me.

This 15% day of February, 2019.

 

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“Michael D. Monico

Sworn to and Subscribed
Before me this Lon day
of FEBRUA , 2019

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"OFFICIAL SEAL" § $
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¢ NOTARY PUBLIC, STATE OF ILLINOIS ¢
; MY COMMISSION EXPIRES 9/24/2021 §

  
   

   
    

 

 
